Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 1 of 23 PageID #: 1296



                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION


  REALTIME DATA LLC d/b/a IXO,

                    Plaintiff,
                                              Civil Action No. 6:16-cv-00086
        v.

  HEWLETT PACKARD ENTERPRISE CO., HP          JURY TRIAL DEMANDED
  ENTERPRISE SERVICES, LLC, and SILVER
  PEAK SYSTEMS, INC.,

                    Defendants.




                      SILVER PEAK SYSTEMS, INC.’S
     MOTION TO SEVER AND TRANSFER VENUE PURSUANT TO 28 U.S.C. § 1404
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 2 of 23 PageID #: 1297



                                                     TABLE OF CONTENTS

                                                                                                                                          Page

  INTRODUCTION ...........................................................................................................................1

  STATEMENT OF FACTS ..............................................................................................................2

  I.        THIS ACTION.....................................................................................................................2

  II.       THE PARTIES.....................................................................................................................3

            A.         Plaintiff Realtime Data LLC ....................................................................................3

            B.         Defendant Silver Peak Systems, Inc. .......................................................................3

            C.         Relevant Third Parties..............................................................................................4

  ARGUMENT ...................................................................................................................................6

  I.        THE CASE AGAINST SILVER PEAK SHOULD BE SEVERED ...................................6

            A.         The Claims Against Silver Peak Do Not Arise Out of the Same
                       Transaction or Occurrence as the Claims Against HPE and HPES .........................6

            B.         This Court May Sever To Facilitate Transfer ..........................................................8

  II.       THE CASE AGAINST SILVER PEAK SHOULD BE TRANSFERRED TO
            THE NORTHERN DISTRICT OF CALIFORNIA.............................................................9

            A.         This Case Could Have Been Brought In Northern California .................................9

            B.         The Northern District of California Is Clearly More Convenient Than
                       This District ...........................................................................................................10

                       1.         The Private Interest Factors Favor Transfer to the California ...................10

                                  a.         Convenience Heavily Favors Transfer Because the
                                             Parties and All Willing Witnesses Are Located Outside
                                             This District ...................................................................................10

                                  b.         The Relevant Documents Are Either Located or Easily
                                             Accessed in California ...................................................................11

                                  c.         The Availability of Compulsory Process for Relevant
                                             Third-Party Witnesses Favors Transfer .........................................12

                                  d.         No Practical Problems Favor Litigation in This District
                                             Compared to the Northern District of California ...........................13


                                                                        i
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 3 of 23 PageID #: 1298



                                                    TABLE OF CONTENTS
                                                        (Continued)

                                                                                                                                       Page

                       2.         The Public Interest Factors Also Support Transfer to California ..............14

                                  a.        Transfer Would Not Create Administrative Difficulties
                                            in the Northern District of California.............................................14

                                  b.        The Interest in Having Local Disputes Decided at
                                            Home Strongly Favors Transfer to the Northern District
                                            of California ...................................................................................14

                                  c.        The Familiarity with the Governing Law and Potential
                                            Conflicts of Law Factors Are Neutral ............................................15

  CONCLUSION ..............................................................................................................................15

  CERTIFICATE OF SERVICE ......................................................................................................17

  CERTIFICATE OF CONFERENCE .............................................................................................17




                                                                      ii
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 4 of 23 PageID #: 1299



                                                TABLE OF AUTHORITIES

                                                                                                                              Page(s)

  CASES

  Balthasar Online, Inc. v. Network Solutions, LLC,
     654 F. Supp. 2d 546 (E.D. Tex. 2009) .......................................................................................8

  Collins v. JC Penney Life Ins. Co.,
     No. 3:01-cv-04069, 2002 WL 505931 (N.D. Cal. Apr. 1, 2002) .............................................12

  EON Corp. IP Holdings, LLC v. Sensus, USA, Inc.,
    2:10-CV-448, 2012 WL 122562 (E.D. Tex. Jan. 9, 2012) ......................................................15

  GeoTag, Inc. v. Aromatique, Inc.,
     No. 2:10–cv–570, 2013 WL 8349856 (E.D. Tex. Jan. 14, 2013) ............................................14

  In re Acer Am. Corp.,
      626 F.3d 1252 (Fed. Cir. 2010)..........................................................................................10, 11

  In re EMC Corp.,
      677 F.3d 1351 (Fed. Cir. 2012)..............................................................................................6, 7

  In re Genentech, Inc.,
      566 F.3d 1338 (Fed. Cir. 2009)..........................................................................................11, 12

  In re Hoffmann-La Roche Inc.,
      587 F.3d (Fed. Cir. 2009).....................................................................................................1, 11

  In re Horseshoe Entm’t,
      305 F.3d 354 (5th Cir. 2003) ...................................................................................................13

  In re Microsoft Corp.,
      630 F.3d 1361 (Fed. Cir. 2011)..................................................................................................1

  In re Morgan Stanley,
      417 F. App’x 947 (Fed. Cir. 2011) ......................................................................................3, 13

  In re Nintendo Co., Ltd.,
      589 F.3d 1194 (Fed. Cir. 2009) ("Nintendo I")..................................................................11, 14

  In re Nintendo Co., Ltd.,
      544 F. App’x. 934 (Fed. Cir. 2013) ("Nintendo II") ..............................................................7, 8

  In re TS Tech USA Corp.,
      551 F.3d 1315 (Fed. Cir. 2008)......................................................................................9, 10, 11

  In re Verizon Bus. Network Servs., Inc.,
      635 F.3d 559 (Fed. Cir. Mar. 23, 2011) ...................................................................................13

  In re Vistaprint Ltd.,
      628 F.3d 1342 (Fed. Cir. 2010)................................................................................................13


                                                                    iii
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 5 of 23 PageID #: 1300



                                                 TABLE OF AUTHORITIES
                                                       (Continued)

                                                                                                                                 Page(s)

  In re Volkswagen AG,
      371 F.3d 201 (5th Cir. 2004) ("Volkswagen I") ...................................................................9, 10

  In re Volkswagen of Am., Inc.,
      545 F.3d 304 (5th Cir. 2008) ("Volkswagen II") .......................................................1, 9, 11, 12

  In re Zimmer Holdings,
      609 F.3d 1378 (Fed. Cir. 2010)..................................................................................................1

  Liaw Su Teng v. Skaarup Shipping Corp.,
     743 F.2d 1140 (5th Cir. 1984) ...................................................................................................8

  Minka Lighting, Inc. v. Trans Flobe Imports, Inc.,
     No. 3:02-cv-02538, 2003 WL 21251684 (N.D. Tex. May 23, 2003) ......................................13

  Mobil Oil Corp. v. W.R. Grace & Co.,
    334 F. Supp. 117 (S.D. Tex. 1971) ............................................................................................8

  Orinda Intellectual Props. USA Holding Grp., Inc. v. Sony Corp.,
     No. 2:08-CV-323, 2009 WL 3261932 (E.D. Tex. Sept. 29, 2009) ..........................................15

  Personalweb Techs., LLC v. Apple, Inc.,
     No. 6:12-cv-660, 2014 WL 1689046 (E.D. Tex. Feb. 12, 2014) .............................................12

  Piper Aircraft Co. v. Reyno,
     454 U.S. 235 (1981) ...................................................................................................................9

  Realtime Data, LLC d/b/a IXO v. Apple Inc.,
     No. 6:15-CV-885, slip op. (E.D. Tex. Apr. 18, 2016) .........................................................2, 15

  Realtime Data LLC d/b/a IXO v. Dropbox, Inc.,
     No. 6:15-CV-465, 2016 WL 153860 (E.D. Tex. Jan. 12, 2016)...................................... passim

  Realtime Data, LLC d/b/a IXO v. Morgan Stanley,
     Nos. 6:09-CV-326, 327, 333, slip op. (E.D. Tex. Sept. 21, 2011).............................................2

  Realtime Data LLC d/b/a IXO v. Teradata Ops., Inc.,
     Nos. 6:15-CV-463, 470, 2016 WL 235183 (E.D. Tex. Jan. 20, 2016) ......................................2

  Realtime Data LLC d/b/a IXO v. Teradata Ops., Inc.,
     Nos. 6:15-CV-463, 470, slip op. at 5 (E.D. Tex. Mar. 29, 2016) .................................... passim

  Realtime Data LLC v. Oracle Am. Inc.,
     No. 6:16-cv-00088, Dkt. No. 24 (E.D. Tex. July 7, 2016) ........................................................8

  Rembrandt Vision Techs., L.P. v. Johnson & Johnson Vision Care, Inc.,
     No. 2:09–cv–200–TJW, 2011 WL 2937365 (E.D. Tex. July 19, 2011) ..................................14



                                                                      iv
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 6 of 23 PageID #: 1301



                                                   TABLE OF AUTHORITIES
                                                         (Continued)

                                                                                                                                       Page(s)

  Shifferaw v. Emson USA,
      No. 2:09-cv-54-TJW-CE, 2010 WL 1064380 (E.D. Tex. Mar. 18, 2010) ................................7

  Toshiba Corp. v. Hynix Semiconductor, Inc.,
     No. 3:04-cv-2391-L, 2005 WL 2415960 (N.D. Tex. Sept. 30, 2005) .......................................8

  Washington v. Trinity Indus., Inc.,
    No. 2:13-CV-1041, 2015 WL 2353056 (E.D. Tex. May 15, 2015).........................................14

  STATUTES

  28 U.S.C. § 1391(c)(2).....................................................................................................................9

  28 U.S.C. § 1400(b) .........................................................................................................................9

  28 U.S.C. § 1404 ..............................................................................................................................1

  28 U.S.C. § 1404(a) .......................................................................................................9, 10, 13, 15

  35 U.S.C. § 271(c) ...........................................................................................................................6

  35 U.S.C. § 299 ............................................................................................................................1, 6

  35 U.S.C. § 299(a)(1).......................................................................................................................6

  35 U.S.C. § 299(a)(2).......................................................................................................................6

  35 U.S.C. § 299(b) .......................................................................................................................6, 8

  CAL. CIV. PROC. CODE § 1989 (Deering 2012) ..............................................................................12
  Leahy–Smith America Invents Act ("AIA"), Pub. Law. 112-29
     (September 16, 2012) .............................................................................................................1, 8

  RULES

  FED. R. CIV. P. 20 .............................................................................................................................6

  FED. R. CIV. P. 45(b)(2)(C) ............................................................................................................12

  PATENT L.R. 3–1 ..............................................................................................................................2




                                                                         v
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 7 of 23 PageID #: 1302



         Pursuant to 35 U.S.C. § 299 and 28 U.S.C. § 1404, Defendant Silver Peak Systems, Inc.

  (“Silver Peak”) respectfully moves the Court for an order severing the claims against Silver Peak

  and transferring those claims to the Northern District of California.

                                          INTRODUCTION

         The claims of Plaintiff Realtime Data LLC (“Realtime”) against Defendant Silver Peak

  should be severed from those against the other defendants in this Action and transferred to the

  Northern District of California.

         The joinder provisions of the America Invents Act (“AIA”) mandate severance. The

  inclusion of claims against Hewlett Packard Enterprise Co. (“HPE”) and Hewlett Packard

  Enterprise Services, LLC (“HPES”) is a transparent and improper attempt by Realtime to avoid

  transfer, and their inclusion directly contravenes the requirements of the AIA. Even if joinder

  were permissible, this Court should exercise its discretion to sever in order to facilitate transfer.

         Once severed, the claims against Silver Peak should be transferred to the “clearly more

  convenient” forum in the Northern District of California. See In re Volkswagen of Am., Inc.,

  545 F.3d 304, 315 (5th Cir. 2008) (“Volkswagen II”). Silver Peak is headquartered in that

  District, and all of its relevant documents and witnesses are located there, as are several likely

  third-party witnesses. Silver Peak has no meaningful contacts with this District that could weigh

  against transfer. Realtime is headquartered in New York, and its witnesses reside there. To the

  extent that it has contacts with this District, those contacts were created for purposes of litigation

  and must be disregarded. See, e.g., In re Microsoft Corp., 630 F.3d 1361, 1364–65 (Fed. Cir.

  2011); In re Zimmer Holdings, 609 F.3d 1378, 1381 (Fed. Cir. 2010); In re Hoffmann-La Roche

  Inc., 587 F.3d 1336–37 (Fed. Cir. 2009).

         In light of these facts, the Northern District of California is the clearly more convenient

  forum for this dispute. Indeed, this Court has already transferred numerous cases filed by


                                                    1
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 8 of 23 PageID #: 1303



  Realtime in this District involving similarly situated defendants.1 Silver Peak therefore

  respectfully requests that this Court grant sever the claims against Silver Peak and transfer those

  claims to the Northern District of California.

                                     STATEMENT OF FACTS

  I.     THIS ACTION

         On February 26, 2016, Realtime filed this lawsuit accusing Silver Peak, HPE, and HPES

  of infringing U.S. Patent Nos. 7,161,506; 9,054,728; 8,643,513; 9,116,908; and 7,415,530, and

  later amended its complaint to allegations against add new HPE products but making no further

  allegations regarding Silver Peak. See generally Dkt. No. 36. Realtime alleges infringement by

  Silver Peak’s NX series WAN optimization devices and its VX series virtual WAN optimization

  software. Id. ¶¶ 13, 37, 62, 75, 95. The Amended Complaint separately alleges infringement by

  HPE/HPES’s 3PAR StoreServ, HP Connected Backup, and HP LiveVault products. Id. ¶¶ 28,

  52, 86, 112. The only purported overlap between the allegations against Silver Peak on one

  hand, and HPE/HPES on the other, asserts infringement of two of the asserted patents against

  Silver Peak’s VX software, which Realtime alleges can run on HPE servers. Id. ¶¶ 14, 38.

         But Realtime’s infringement contentions tell a different story. Realtime served separate

  Patent L.R. 3–1 contentions on each defendant on August 15, 2016. See Decl. of Lauren

  Whittemore in Support of Silver Peak’s Mot. to Sever and Transfer Venue (“Whittemore Decl.”)

  ¶¶ 2, 15, Exs. A, N. The infringement contentions Realtime served on Silver Peak do not

  mention any HPE or HPES products, and vice versa. Id. Silver Peak now seeks to transfer the

  1
    See, e.g., Realtime Data, LLC d/b/a IXO v. Apple Inc., No. 6:15-CV-885, slip op. at 1 (E.D.
  Tex. Apr. 18, 2016); Realtime Data LLC d/b/a IXO v. Dropbox, Inc., No. 6:15-CV-465, 2016
  WL 153860, at *6 (E.D. Tex. Jan. 12, 2016); Realtime Data LLC d/b/a IXO v. Teradata Ops.,
  Inc., Nos. 6:15-CV-463, 470, 2016 WL 235183, at *13 (E.D. Tex. Jan. 20, 2016) (holding
  adopted and objections overruled at Realtime Data LLC d/b/a IXO v. Teradata Ops., Inc., Nos.
  6:15-CV-463, 470, slip op. at 5 (E.D. Tex. Mar. 29, 2016)); Realtime Data, LLC d/b/a IXO v.
  Morgan Stanley, Nos. 6:09-CV-326, 327, 333, slip op. at 1 (E.D. Tex. Sept. 21, 2011).


                                                   2
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 9 of 23 PageID #: 1304



  claims against it to the Northern District of California, where it maintains its principal place of

  business. Dkt. No. 36 ¶ 2; Decl. of Eric Yeaman in Support of Silver Peak’s Mot. to Sever and

  Transfer Venue (“Yeaman Decl.”) ¶ 3.

  II.    THE PARTIES

         A.      Plaintiff Realtime Data LLC

         Realtime is “a non-practicing entity headquartered in New York.” In re Morgan Stanley,

  417 F. App’x 947, 948 (Fed. Cir. 2011) (designated non-precedential); see also Teradata, 2016

  WL 235183, at *1; Dropbox, 2016 WL 153860, at *1. Realtime’s witnesses reside in New York.

  Teradata, 2016 WL 235183, at *4; Dropbox, 2016 WL 153860, at *2. Realtime maintains an

  office in Tyler, where it houses physical devices, prototypes, source code, and demonstration

  software, but the relevance of those documents to its patent assertion litigation remains unclear.

  Teradata, 2016 WL 235183, at *2–3; Dropbox, 2016 WL 153860, at *2–3. Finally, Realtime’s

  counsel is located in Los Angeles, California. Whittemore Decl. ¶ 3, Ex. B.

         B.      Defendant Silver Peak Systems, Inc.

         Silver Peak is headquartered in Santa Clara, California, 5.6 miles from the San Jose

  courthouse for the Northern District of California. See Yeaman Decl. ¶ 3; Whittemore Decl. ¶ 4,

  Ex. C. Silver Peak designs and creates products for wide area network optimization, including

  hardware and software products for accelerating application performance over long distances.

  Yeaman Decl. ¶ 4. Silver Peak’s products and services are not directed to any specific states or

  districts. Id. The accused products were designed and developed by employees at Silver Peak’s

  headquarters in the San Francisco Bay Area. Id. ¶ 4; Decl. of David Hughes in Support of Silver

  Peak’s Mot. to Sever and Transfer Venue (“Hughes Decl.”) ¶ 3. Silver Peak has 212 employees.

  The vast majority of the employees who are involved in the development of Silver Peak’s

  products work in the company’s California headquarters. Yeaman Decl. ¶ 3. Silver Peak’s


                                                    3
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 10 of 23 PageID #: 1305



   evidence—technical documents, source code, sales, marketing, and financial information—is

   also located and maintained in the San Francisco Bay Area. Id. ¶ 5.

          Silver Peak has no office, storage, distribution or manufacturing facility, nor any bank

   account, address, or telephone listing within this District. Id. ¶ 6. Although Silver Peak has two

   sales employees who work virtually from their own homes in this District, those employees do

   not work on the development or functionality of the accused products, and they report to

   supervisors in Arizona and California. Id. Silver Peak does not maintain any technical,

   marketing, or financial records produced in the ordinary course of business relating to the

   accused products in this District. Id. ¶¶ 5, 6. For fiscal years 2014-2016, only 0.5% of Silver

   Peak’s revenue came from customers located in the Eastern District of Texas. Id. ¶ 7.

          Silver Peak employees who work and live in Northern California are expected to testify

   in this case. Id. ¶ 8. Due to the small size of Silver Peak’s workforce and the pivotal role its top

   officers and executives played in developing the accused products, it would be costly and

   inconvenient for Silver Peak to have those executives and employees travel to this District. Id.

   ¶ 9-10. These costs for travel and reduced productivity could largely be avoided if those

   witnesses could remain in Northern California. Id. ¶ 9. Overall, it would be far more convenient

   and much less disruptive for Silver Peak if this case were to proceed in California. Id. ¶ 11.

          C.      Relevant Third Parties

          Silver Peak is unaware of any relevant third parties located in this District, but several are

   located in Northern California. These third parties, who would be subject to compulsory process

   in the Northern District of California, but not in this District, include former Silver Peak

   employees John Burns (Software Architect engineer) and Marc Trimuschat (Vice President of

   Business Development and Global Alliances), both of whom reside in the San Francisco Bay

   Area and would likely testify at trial if possible. Id. ¶ 10; Whittemore Decl. ¶ 5, Ex. D.


                                                     4
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 11 of 23 PageID #: 1306



          Other relevant potential non-party witnesses residing in the San Francisco Bay Area

   include numerous authors of prior art patents and references likely at issue in this case. Dr. Ke-

   Chiang Chu is an inventor on U.S. Patent Nos. 5,467,087 and 5,150,430.2 Whittemore Decl. ¶ 6

   Ex. E. Dr. Chu lives in Saratoga, California within the Northern District of California. Id. ¶ 7,

   Ex. F. Dr. Chu’s ’430 patent was cited as part of reexamination proceedings against one of the

   patents-in-suit and therefore is likely to be relevant to claim construction, as well as Silver

   Peak’s invalidity defenses. Id. ¶ 8, Ex. G.

          Dr. Randy Katz developed the Bay Area Research Network System while at U.C.

   Berkeley. This system, which is described in a reference titled “The Bay Area Research

   Wireless Access Network” and published in 1996, appears to have used multiple different

   compression techniques depending on the nature of the data, which is the subject matter of the

   asserted patents. Id. ¶ 9, Ex. H. Dr. Katz continues to work at U.C. Berkeley and resides in San

   Francisco. Id. ¶¶ 10-11, Exs. I, J. In addition, Joy Aloysius Thomas is an inventor named on

   U.S. Patent No. 5,870,036 (“Adaptive multiple dictionary data compression”) and resides in the

   San Francisco Bay Area. Id. ¶¶ 12-13, Exs. K, L.

          Finally, the IBM 3494/3495 Tape Library Dataserver, which supports the IBM 3490 and

   3590 Tape Subsystem and Magstar Tape Drive was made and sold by IBM as early as August 8,

   1995, and was designed and developed by IBM’s International Technical Support Organization

   in San Jose, California. Id. ¶ 14, Ex. M.

          Silver Peak is likely to rely on the above prior art and associated documentation

   regarding the prior art systems and witnesses to support its invalidity defenses. Id. ¶¶ 6-14.




   2
    These patents are assigned to Apple Inc. and Stanford University, respectively—both of which
   are located in the Northern District of California. Whittemore Decl. ¶ 6, Ex. E.


                                                     5
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 12 of 23 PageID #: 1307



                                              ARGUMENT

   I.     THE CASE AGAINST SILVER PEAK SHOULD BE SEVERED

          A.      The Claims Against Silver Peak Do Not Arise Out of the Same Transaction
                  or Occurrence as the Claims Against HPE and HPES

          35 U.S.C. § 299 provides that accused infringers may not be joined in the same action

   unless the plaintiff’s claims arise “out of the same transaction, occurrence, or series of

   transactions or occurrences [involving] the same accused product or process.” 35 U.S.C.

   § 299(a)(1). The suit must also involve questions of fact common to all defendants. Id.

   § 299(a)(2). This requirement is not satisfied unless “there is substantial evidentiary overlap in

   the facts giving rise to the cause of action against each defendant.” In re EMC Corp., 677 F.3d

   1351, 1358 (Fed. Cir. 2012) (addressing pre-AIA joinder under Rule 20 of the Federal Rules of

   Civil Procedure). Accused infringers may not be consolidated for trial “based solely on

   allegations that they have each infringed the patent or patents in suit.” 35 U.S.C. § 299(b).

          This action fails to satisfy these statutory requirements for joinder. The claims against

   HPE and HPES are not material to Realtime’s claims against Silver Peak or Silver Peak’s

   defenses in this case. Realtime’s infringement contentions identify only Silver Peak products

   and lack any mention of HPE or HPES. Whittemore Decl. ¶ 15, Ex. N. Silver Peak’s accused

   software products run on any third-party servers and switches—i.e., any “staple article or

   commodity of commerce suitable for substantial noninfringing use”—not simply HPE hardware.

   35 U.S.C. § 271(c); see Whittemore Decl. ¶ 16, Ex. O. Adjudication of the claims against Silver

   Peak, therefore, would dispose of any claims against HPE/HPES involving Silver Peak software,

   even if such claims had appeared in Realtime’s infringement contentions—which they do not.

   Furthermore, Realtime is not permitted to recover twice for customers running Silver Peak’s

   software on HPE servers, and therefore severing and transferring Silver Peak’s case to California



                                                     6
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 13 of 23 PageID #: 1308



   poses no prejudice to Realtime. Shifferaw v. Emson USA, No. 2:09-cv-54-TJW-CE, 2010 WL

   1064380, at *3 (E.D. Tex. Mar. 18, 2010).

          Although Realtime’s complaint alleges a business relationship between Silver Peak and

   “HPE/HPES,” Realtime pleads no facts to support any relationship between Silver Peak and

   HPES, and it is clear that a relationship exists only between Silver Peak and HPE—the entity

   that designs and manufactures the accused servers and switches. Dkt. No. 36 ¶ 5 n.2-3; see also

   Whittemore Decl. ¶ 17, Ex. P (making no mention of HPES); Whittemore Decl. ¶ 18, Ex. Q

   (showing accused products). While Silver Peak formed a marketing relationship with Hewlett

   Packard prior to the creation of HPE, these entities have not jointly developed or sold any

   products. Hughes Decl. ¶ 6. The accused HPE/HPES products and services, including 3PAR

   StoreServ, HP Connected Backup, and HP LiveVault, have no relation to Silver Peak. Id. ¶ 4.

          Neither the fact that Silver Peak software can run on HPE hardware nor the marketing

   relationship between Silver Peak and HPE creates the requisite logical relationship or aggregate

   of operative facts permitting joinder. See EMC, 677 F.3d at 1358. Regarding the former,

   HPE/HPES can “add little to nothing regarding how the technology underlying the accused

   products”—here, Silver Peak’s software—“works.” In re Nintendo Co., Ltd. (“Nintendo II”),

   544 F. App’x. 934, 941 (Fed. Cir. 2013). As to the latter, Realtime’s complaint is devoid of

   allegations addressing how the marketing relationship between Silver Peak and HPE could

   change the fact that Silver Peak’s own software stands as the sole basis for the claims against it.

   Given the immateriality of HPE/HPES to Realtime’s claims against Silver Peak and the lack of

   connection between Silver Peak to Realtime’s claims against HPE/HPES concerning the 3PAR

   StoreServ, HP Connected Backup, and HP LiveVault products, there is no evidentiary overlap

   between the two. The only real connection between the parties is that they involve the same




                                                    7
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 14 of 23 PageID #: 1309



   patents, and the AIA expressly forbids joinder under such circumstances. 35 U.S.C. § 299(b).

          B.      This Court May Sever To Facilitate Transfer

          Even if severance were not mandatory in this case, this Court should exercise its

   discretion sever the claims against Silver Peak. “Rule 21 provides courts with considerable

   latitude to order severance solely for purposes of facilitating transfer.” Nintendo II, 544 F. App’x

   at 940. It is well-established that “[i]f . . . suit might have been brought against one or more

   defendants in the court to which transfer is sought, the claims against those defendants may be

   severed and transferred while the claims against the remaining defendant, for whom transfer

   would not be proper, are retained.” Liaw Su Teng v. Skaarup Shipping Corp., 743 F.2d 1140,

   1148 (5th Cir. 1984), overruled on other grounds by In re Air Crash Disaster Near New Orleans,

   821 F.2d 1147 (5th Cir. 1987). This is particularly true where the patent infringement claims

   asserted against any remaining defendants may be secondary to the primary infringement claims

   to be severed and transferred. See, e.g., Balthasar Online, Inc. v. Network Solutions, LLC, 654 F.

   Supp. 2d 546, 552–53 (E.D. Tex. 2009); Toshiba Corp. v. Hynix Semiconductor, Inc., No. 3:04-

   cv-2391-L, 2005 WL 2415960, at *4–6 (N.D. Tex. Sept. 30, 2005); Mobil Oil Corp. v. W.R.

   Grace & Co., 334 F. Supp. 117, 121–22 (S.D. Tex. 1971). Moreover, as the above discussion

   makes clear, the purported connection between Silver Peak and the other defendants does not

   withstand serious scrutiny. See supra Argument Section I.A.

          The Court should not encourage Realtime to subject businesses located in this forum to

   burdensome and costly lawsuits solely for venue purposes. See Balthasar, 654 F. Supp. 2d at

   552–53. HPE and HPES are already embroiled in multiple suits against Realtime in this District

   involving four of the five patents-in-suit here. See, e.g., Realtime Data LLC v. Oracle Am. Inc.,

   No. 6:16-cv-00088, Dkt. No. 24 (E.D. Tex. July 7, 2016). The Court should therefore give little

   weight to any of Realtime’s protestations of inconvenience, and Realtime’s improper joinder of


                                                     8
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 15 of 23 PageID #: 1310



   HPE and HPES should not impede transfer of the case against Silver Peak.

   II.    THE CASE AGAINST SILVER PEAK SHOULD BE TRANSFERRED TO THE
          NORTHERN DISTRICT OF CALIFORNIA

          A court may transfer a civil action to any court in which the action could have originally

   been brought. 28 U.S.C. § 1404(a). “The underlying premise of § 1404(a) is that courts should

   prevent plaintiffs from . . . subjecting defendants to venues that are inconvenient under the terms

   of § 1404(a).” Volkswagen II, 545 F.3d at 313. Summarizing Fifth Circuit law, the Federal

   Circuit has explained:

          The “private” interest factors include: (1) the relative ease of access to sources of
          proof; (2) the availability of compulsory process to secure the attendance of
          witnesses; (3) the cost of attendance for willing witnesses; and (4) all other
          practical problems that make a trial easy, expeditious and inexpensive. The
          “public” interest factors to be considered are: “(1) the administrative difficulties
          flowing from court congestion; (2) the local interest in having localized interests
          decided at home; (3) the familiarity of the forum with the law that will govern the
          case; and (4) the avoidance of unnecessary problems of conflicts of laws [or in]
          the application of foreign law.”

   In re TS Tech USA Corp., 551 F.3d 1315, 1319 (Fed. Cir. 2008) (citing Piper Aircraft Co. v.

   Reyno, 454 U.S. 235, 241 n.6 (1981); quoting Volkswagen II, 545 F.3d at 315). None of the

   private or public interest factors favors keeping the claims against Silver Peak in this District.

          A.      This Case Could Have Been Brought In Northern California

          The threshold requirement for a transfer of venue under Section 1404(a) is whether the

   case could have been brought in the judicial district in which transfer is sought. In re

   Volkswagen AG, 371 F.3d 201, 203 (5th Cir. 2004) (“Volkswagen I”); see also Volkswagen II,

   545 F.3d at 313. Silver Peak is subject to personal jurisdiction there because it is headquartered

   in that district. Yeaman Decl. ¶ 3; 28 U.S.C. § 1391(c)(2); see also 28 U.S.C. § 1400(b).

   Realtime could have brought its case against Silver Peak in the Northern District of California

   and no obstacle prevents the Court from transferring the case against Silver Peak there.



                                                     9
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 16 of 23 PageID #: 1311



          B.      The Northern District of California Is Clearly More Convenient Than This
                  District

                  1.      The Private Interest Factors Favor Transfer to the California

                          a.     Convenience Heavily Favors Transfer Because the Parties and
                                 All Willing Witnesses Are Located Outside This District

          The Federal Circuit has applied the Fifth Circuit’s “100-mile” rule in analyzing whether a

   particular venue is convenient for witnesses in patent cases. See TS Tech, 551 F.3d at 1320.

   “When the distance between an existing venue . . . and a proposed venue under § 1404(a) is more

   than 100 miles, the factor of inconvenience to witnesses increases in direct relationship to the

   additional distance to be traveled.” Id. Given this Court’s distance from Silver Peak’s

   headquarters in California, litigating in this District would impose an undue burden on the key

   executives and employees with relevant knowledge of the accused products located in California

   who may need to testify on technical and financial matters in this case. Yeaman Decl. ¶ 8.

   These witnesses would need to incur significant travel costs in connection with approximately

   1800-mile trips on multiple plane flights. Whittemore Decl. ¶¶ 19-20, Exs. R, S.

          Silver Peak’s witnesses in Northern California include founder and CEO David Hughes,

   Senior VP of Products Damon Ennis, and CFO Eric Yeaman. Yeaman Decl. ¶ 8. Due to the

   small size of Silver Peak’s workforce, it would be highly disruptive to Silver Peak’s business if

   these key personnel must spend an entire day simply traveling to and from Tyler—time that

   could otherwise be spent productively at work. Yeaman Decl. ¶ 9; see In re Acer Am. Corp., 626

   F.3d 1252, 1255 (Fed. Cir. 2010); see also Volkswagen I, 371 F.3d at 205.

          In contrast, Realtime’s witnesses are primarily located in New York. Teradata, 2016 WL

   235183, at *4; Dropbox, 2016 WL 153860, at *2. Realtime’s litigation connections to this

   District aside, appearing in California would actually be more convenient for Realtime. Travel

   for Realtime’s New York witnesses to San Francisco is less costly and less time-consuming than


                                                   10
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 17 of 23 PageID #: 1312



   travel to Tyler. Compare Whittemore Decl. ¶ 21, Ex. T and id. ¶ 22, Ex. U. Flights from New

   York to Tyler require at least one stop and cost between $590 and $1,017. Id. ¶ 21, Ex. T. In

   contrast, nonstop flights from New York to San Francisco are available and cost between $463

   and $959. Id. ¶ 22, Ex. U. California is a more convenient venue for all involved. And where,

   as here, no witnesses reside in this District, the geographic centrality of the Eastern District of

   Texas is immaterial. In re Genentech, Inc., 566 F.3d 1338, 1344 (Fed. Cir. 2009).

          Where most witnesses and evidence are closer to the transferee venue and few or no

   convenience factors favor the venue chosen by the plaintiff, transfer to a more convenient venue

   is appropriate. See, e.g., Acer, 626 F.3d at 1254–56; Hoffman-La Roche, 587 F.3d at 1335–36;

   TS Tech, 551 F.3d at 1321. This factor weighs strongly in favor of transfer.

                          b.      The Relevant Documents Are Either Located or Easily
                                  Accessed in California

          Despite technological advances that lighten the relative inconvenience of transporting

   large amounts of documents across the country, this factor remains part of the transfer analysis.

   Volkswagen II, 545 F.3d at 316. This factor turns upon which party—usually the accused

   infringer—will most likely have the greater volume of relevant documents. See, e.g., id. at 314–

   15; In re Nintendo Co., Ltd., 589 F.3d 1194, 1199 (Fed. Cir. 2009) (“Nintendo I”); Genentech,

   566 F.3d at 1345. The evidence regarding Silver Peak’s development, engineering, sales, and

   marketing activities are located in Northern California. Yeaman Decl. ¶ 5.

          To the extent Realtime claims that it maintains documents in this District, this Court has

   already repeatedly questioned the relevance of such documents. Teradata, 2016 WL 235183, at

   *2–3; Dropbox, 2016 WL 153860, at *2–3. This Court has also repeatedly determined that the

   location of Realtime’s documents is outweighed in the transfer analysis by the fact that “the bulk

   of the relevant evidence usually comes from the accused infringer”—Silver Peak. Teradata,



                                                     11
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 18 of 23 PageID #: 1313



   2016 WL 235183, at *3 (citing Genentech, 566 F.3d at 1345); Dropbox, 2016 WL 153860, at *3

   (same); see also Personalweb Techs., LLC v. Apple, Inc., No. 6:12-cv-660, 2014 WL 1689046, at

   *11 (E.D. Tex. Feb. 12, 2014). This factor weighs in favor of transfer.

                              c.   The Availability of Compulsory Process for Relevant Third-
                                   Party Witnesses Favors Transfer

           The availability of compulsory process to secure the attendance of third-party witnesses

   also strongly favors transfer. This factor weighs more heavily in favor of transfer when more

   third-party witnesses reside within the transferee venue. See Volkswagen II, 545 F.3d at 316.

   This factor weighs the heaviest in favor of transfer when a transferee venue is said to have

   “absolute subpoena power.” Id.

           Potential third-party witnesses are scarce (possibly nonexistent) in Texas, but abundant in

   California. As noted above, former Silver Peak employees with relevant information reside in

   the Bay Area and will likely testify at trial. Yeaman Decl. ¶ 10. Silver Peak is aware of two

   non-party former employees and at least three non-party prior art witnesses who reside in the

   Bay Area, but are outside the subpoena power of this Court. See supra Statement of Facts

   Section II.C. Silver Peak is not aware of any non-party witnesses with relevant information who

   reside in this District.

           The Northern District of California has absolute subpoena power over all of these

   potential third-party witnesses, whereas this District lacks subpoena power over all of them.

   FED. R. CIV. P. 45(b)(2)(C); CAL. CIV. PROC. CODE § 1989 (Deering 2012); Collins v. JC Penney

   Life Ins. Co., No. 3:01-cv-04069, 2002 WL 505931, at *3–4 (N.D. Cal. Apr. 1, 2002) see also

   Volkswagen II, 545 F.3d at 316. In the Northern District of California, both Realtime and Silver

   Peak would be able to compel any of these third-party witnesses to attend trial in order to present

   its case. This factor weighs in favor of transfer.



                                                    12
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 19 of 23 PageID #: 1314



                         d.      No Practical Problems Favor Litigation in This District
                                 Compared to the Northern District of California

          Transfer to the Northern District of California poses no practical problems for any party.

   Although Realtime’s witnesses and documents are located in New York, such witnesses would

   have to travel regardless of whether they must appear in Texas or California. Teradata, 2016

   WL 235183, at *3–4; Dropbox, 2016 WL 153860, at *2, 4.

          Nor should this Court give serious weight to Realtime’s choice of forum, which is

   “neither conclusive nor determinative.” In re Horseshoe Entm’t, 305 F.3d 354, 359 (5th Cir.

   2003). A plaintiff’s choice of forum also receives less deference where,” as here, “most of the

   operative facts occurred outside the district.” Minka Lighting, Inc. v. Trans Flobe Imports, Inc.,

   No. 3:02-cv-02538, 2003 WL 21251684, at *1, 4 (N.D. Tex. May 23, 2003). Neither Realtime

   nor Silver Peak resides here. Silver Peak developed and sells the accused products from its

   California headquarters, and end users may purchase the products anywhere in the country.

   Yeaman Decl. ¶ 7. Given the lack of meaningful connections to this forum, the inconvenience

   that Silver Peak and numerous third parties face outweighs Realtime’s decision to file here.

          This case remains in its earliest stages and this Court’s prior experience with the patents-

   in-suit does not support denying transfer. In another Realtime case, the Federal Circuit held that

   “the proper administration of justice may be to transfer to the far more convenient venue even

   when the trial court has some familiarity with a matter from prior litigation.” Morgan Stanley,

   417 F. App’x at 949. “To interpret § 1404(a) to hold that any prior suit involving the same patent

   can override a compelling showing of transfer would be inconsistent with the policies underlying

   § 1404(a).” In re Verizon Bus. Network Servs., Inc., 635 F.3d 559, 562 (Fed. Cir. Mar. 23, 2011)

   (quoting In re Vistaprint Ltd., 628 F.3d 1342, 1347 n.3 (Fed. Cir. 2010)).

          Thus, all private interest factors weigh heavily in favor of transferring this case.



                                                    13
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 20 of 23 PageID #: 1315



                  2.      The Public Interest Factors Also Support Transfer to California

                          a.      Transfer Would Not Create Administrative Difficulties in the
                                  Northern District of California

          No serious concerns regarding court congestion in the Northern District of California

   weigh against transfer. In contrast, this Court has an incredibly active docket. See Washington v.

   Trinity Indus., Inc., No. 2:13-CV-1041, 2015 WL 2353056, at *4 (E.D. Tex. May 15, 2015)

   (“Since the first of this year there have been well over 500 motions filed with this Court.”). The

   median time from filing to trial in this District for the 12-month period ending June 30, 2016 was

   20.7 months, compared with 24.6 months in the Northern District of California—a neutral

   difference. Whittemore Decl. ¶ 23, Ex. V; see also GeoTag, Inc. v. Aromatique, Inc., No. 2:10–

   cv–570, 2013 WL 8349856, at *5 (E.D. Tex. Jan. 14, 2013); Rembrandt Vision Techs., L.P. v.

   Johnson & Johnson Vision Care, Inc., No. 2:09–cv–200–TJW, 2011 WL 2937365, at *3 (E.D.

   Tex. July 19, 2011). This District also saw 25% more cases filed per judge than the Northern

   District of California for the same period. See id. (546 total case filings per judge in the

   Northern District of California versus 728 in this District). This factor favors transfer.

                          b.      The Interest in Having Local Disputes Decided at Home
                                  Strongly Favors Transfer to the Northern District of California

          The second public factor examines which district has the greater factual connection to the

   underlying litigation. Interests that “could apply to virtually any judicial district or division in

   the United States,” such as the nationwide sale of infringing products, are disregarded in favor of

   particularized local interests. Volkswagen II, 545 F.3d at 317–18; Nintendo I, 589 F.3d at 1198.

          The Northern District of California has a greater particularized interest in this case.

   Silver Peak’s products were developed in Northern California, the patents-in-suit were invented

   there, and Silver Peak’s only relevant connection with this District arises from the nationwide

   sale of its products. See Yeaman Decl. ¶¶ 4-7; Dkt. No. 36 ¶¶ 4-5. The Northern District of


                                                     14
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 21 of 23 PageID #: 1316



   California has a significant localized interest in this lawsuit because Silver Peak is headquartered

   there, and its key employees and third party witnesses reside there. Yeaman Decl. ¶¶ 3, 8-10; see

   also Volkswagen II, 545 F.3d at 317–18; EON Corp. IP Holdings, LLC v. Sensus, USA, Inc.,

   2:10-CV-448, 2012 WL 122562, at*5 (E.D. Tex. Jan. 9, 2012).

          Additionally, multiple prior art sources or systems are located in Northern California, as

   are numerous defendants from previous Realtime actions who may have information regarding

   licensing activities relevant to damages calculations. See Whittemore Decl. ¶¶ 5-14; see also

   Teradata, 2016 WL 235183, at *6 (finding that Northern District of California had a greater local

   interest in another Realtime case involving the ’513 and ’530 patents); Dropbox, 2016 WL

   153860, at *6; Apple, No. 6:15-CV-885, Dkt. No. 31 at 1.

          Although Realtime has asserted in the past that its local offices give this District a local

   interest, this Court has determined that the transferee venue that is home to witnesses and the

   bulk of evidence has a greater interest. Teradata, 2016 WL 235183, at *6; Dropbox, 2016 WL

   153860, at *5. This factor therefore weighs in favor of transfer.

                          c.      The Familiarity with the Governing Law and Potential
                                  Conflicts of Law Factors Are Neutral

          Federal law governs patent infringement actions and therefore this District and the

   Northern District of California are equally capable of adjudicating the patent issues in this case.

   See Orinda Intellectual Props. USA Holding Grp., Inc. v. Sony Corp., No. 2:08-CV-323, 2009

   WL 3261932, at *4 (E.D. Tex. Sept. 29, 2009). No conflicts of laws questions exist in this case.

                                            CONCLUSION

          For the foregoing reasons, Silver Peak respectfully requests the Court sever the claims

   against Silver Peak and transfer this action pursuant to Section 1404(a) to the Northern District

   of California.



                                                    15
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 22 of 23 PageID #: 1317




   Dated: September 9, 2016           Respectfully submitted,



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                                        16
Case 6:17-cv-00071-RWS-JDL Document 55 Filed 09/09/16 Page 23 of 23 PageID #: 1318



                                    CERTIFICATE OF SERVICE

          The undersigned certifies that the foregoing document was filed electronically through

   the Court’s ECF System in compliance with Local Rule CV-5(a) on September 9, 2016.




                                                /s/ Michael J. Sacksteder
                                                      Michael J. Sacksteder



                                CERTIFICATE OF CONFERENCE

          The undersigned hereby certifies that counsel for Defendant has complied with L.R. 7(h)

   regarding this motion. The motion is opposed. On August 4, 2016 and September 9, 2016, the

   undersigned counsel for Defendant met and conferred with Jeffrey Liao, counsel for Plaintiff.

   No agreement could be reached because Plaintiff is opposed to transferring this case to the

   Northern District of California. Discussions have conclusively ended in an impasse, leaving an

   open issue for the Court to resolve.




                                                /s/ Lauren E. Whittemore
                                                        Lauren E. Whittemore




                                                  17
